     Case 1:20-cv-02471-FYP Document 10 Filed 05/11/21 Page 1 of 62


                      SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                          CIVIL DIVISION – CIVIL ACTIONS BRANCH
                            500 INDIANA AVENUE NW, Room 5000
                                  WASHINGTON, DC 20001


                                            12-11-2020



The Honorable Angela Caesar, Clerk
United States District Court for the District of Columbia
3rd and Constitution Avenue, Washington, D.C. 20001


       In Re: WRIGHT, TERRI D. Vs. EUGENE & AGNES E. MEYER
       FOUNDATION et al




Civil Action Number: 2020 CA 003266 B U.S. District Number: 1:20-cv-02471




Dear Ms. Angela Caesar:


       Transmitted herewith are all of the pleadings filed in the above captioned case
pursuant to a Petition for Removal Filed on September 3, 2020. A certified copy of the
docket entries is also enclosed.

        Please acknowledge receipt of our file on the duplicate copy of this letter, and
return it to this Court.

                                      Sincerely,



                                      Joy Jefferson, Branch Chief
                                       Civil Actions Branch

                                  By: /s/ Katharine Cournoyer
Date: 12/11/2020      12:51:08.4             Docket Sheet                       Page: 1

CRTR5925
                       Case 1:20-cv-02471-FYP Detail
                                               Document 10 Filed 05/11/21 Page 2 of 62


Case Number                         Status                           Judge
2020 CA 003266 B               Closed                                RIGSBY, ROBERT R

In The Matter Of                                                     Action

WRIGHT, TERRI D.      Vs. EUGENE & AGNES E. MEYER FOUNDATION et al   Complaint for
                                                                     Breach of
                                                                     Contract Filed

Party                                               Attorneys
WRIGHT, TERRI D.                        PLNTF       SELLS, Mr DEREK S
204 BEACON PLACE NE                                 COCHRAN FIRM
WASHINGTON, DC 20011                                233 BROADWAY
                                                    5TH FLOOR
                                                    New York, NY 10279


EUGENE & AGNES E. MEYER FOUNDATION      DFNDT
1250 CONNECTICUT AVENUE NW
SUITE 800
WASHINGTON, DC 20036


GOREN, NICOLA O.                        DFNDT
4228 Alton PL NW
WASHINGTON DC, DC 20016


Opened                              Disposed                         Case Type
07/23/2020                          Removal-Notice of                Civil II
                                    Removal To USDC

Comments:


No.         Date of   Pleadings Filed, Orders and Decrees     Amount Owed/          Balance Due
                      Journal Book-Page-Nbr     Ref Nbr       Amount Dismissed

1           12/11/20 Notice of Hearing Mailed Next Business              0.00
                     Day                                                                   0.00

                      Notice Of Removal
                      Sent on: 12/11/2020    12:44:45.78


2           09/04/20 Notice of Removal to USDC for the                   0.00
                     District of Columbia. 1:20-cv-02471.                                  0.00


3           09/04/20 Event Resulted:                                     0.00
                     The following event: Initial                                          0.00
                     Scheduling Conference-60 scheduled for
                     10/23/2020 at 10:00 am has been
                     resulted as follows:

                      Result: Event Not Held Case Dismissed
                      Judge: RIGSBY, ROBERT R    Location:
                      Courtroom 201


4           09/03/20 Additional eFiling Document to Notice               0.00
                     of Filing Notice of Removal. Submitted                                0.00
                     09/03/2020 17:53. kd
                     Attorney: DAVIS, Ms ALISON N (429700)
                     EUGENE & AGNES E. MEYER FOUNDATION
                     (Defendant); NICOLA O. GOREN
                     (Defendant);
Date: 12/11/2020     12:51:08.4             Docket Sheet                       Page: 2

CRTR5925
                      Case 1:20-cv-02471-FYP Detail
                                              Document 10 Filed 05/11/21 Page 3 of 62

2020 CA 003266 B      WRIGHT, TERRI D.   Vs. EUGENE & AGNES E. MEYER FOUNDATION et al


No.        Date of   Pleadings Filed, Orders and Decrees      Amount Owed/         Balance Due
                     Journal Book-Page-Nbr     Ref Nbr        Amount Dismissed


5          09/03/20 Notice of Filing Notice of Removal                  0.00
                    Filed. Submitted 09/03/2020 17:53. kd                                 0.00
                    Attorney: DAVIS, Ms ALISON N (429700)
                    EUGENE & AGNES E. MEYER FOUNDATION
                    (Defendant); NICOLA O. GOREN
                    (Defendant);


6          08/22/20 Proof of Service                                    0.00
                       Method    : Service Issued                                         0.00
                       Issued    : 07/24/2020
                       Service   : Summons Issued
                       Served    : 08/13/2020
                       Return    : 08/22/2020
                       On        : GOREN, NICOLA O.
                       Signed By : Andrew Cohen

                        Reason    : Proof of Service
                        Comment   :

                        Tracking #: 5000228409


7          08/22/20 Affidavit of Service of Summons &                   0.00
                    Complaint on                                                          0.00
                    NICOLA O. GOREN (Defendant);


8          07/24/20 Information Sheet Filed. Submitted                  0.00
                    07/24/2020 16:59. kd                                                  0.00
                    Attorney: SELLS, Mr DEREK S (420398)
                    Mr DEREK S SELLS (Attorney) on behalf
                    of TERRI D. WRIGHT (Plaintiff)


9          07/24/20 Summons Issued and eServed by the Clerk             0.00
                                                                                          0.00




10         07/24/20 Summons Issued and eServed by the Clerk             0.00
                                                                                          0.00




11         07/24/20 Issue Date: 07/24/2020                              0.00
                    Service: Summons Issued                                               0.00
                    Method: Service Issued
                    Cost Per: $


                        EUGENE & AGNES E. MEYER FOUNDATION
                        1250 CONNECTICUT AVENUE NW
                        SUITE 800
                        WASHINGTON, DC   20036
                        Tracking No: 5000228408


                        GOREN, NICOLA O.
                        4228 Alton PL NW
                        WASHINGTON DC, DC   20016
                        Tracking No: 5000228409
Date: 12/11/2020     12:51:08.4               Docket Sheet                      Page: 3

CRTR5925
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                                              Document 10 Filed 05/11/21 Page 4 of 62

2020 CA 003266 B      WRIGHT, TERRI D.     Vs. EUGENE & AGNES E. MEYER FOUNDATION et al


No.        Date of   Pleadings Filed, Orders and Decrees       Amount Owed/         Balance Due
                     Journal Book-Page-Nbr     Ref Nbr         Amount Dismissed


12         07/24/20 Initial Summons Requested as to:                     0.00
                    Submitted 07/24/2020 13:06. chd                                                   0.00
                    Attorney: SELLS, Mr DEREK S (420398)
                    EUGENE & AGNES E. MEYER FOUNDATION
                    (Defendant);


13         07/24/20 Initial Summons Requested as to:                     0.00
                    Submitted 07/24/2020 13:05. chd                                                   0.00
                    Attorney: SELLS, Mr DEREK S (420398)
                    NICOLA O. GOREN (Defendant);


14         07/24/20 Complaint Package eServed to Filer                   0.00
                                                                                                      0.00




15         07/24/20 Initial Order and Addendum Issued (60                0.00
                    Days)                                                                             0.00

                     Initial Order-60 Days
                     Sent on: 07/24/2020 09:02:38.93


16         07/24/20 Event Scheduled                                      0.00
                    Event: Initial Scheduling                                                         0.00
                    Conference-60
                    Date: 10/23/2020    Time: 10:00 am
                    Judge: RIGSBY, ROBERT R    Location:
                    Courtroom 201


17         07/23/20 eComplaint Filed. Submitted 07/23/2020               0.00
                    21:47. chd                                                                        0.00
                    (NO SUMMONS OR INFORMATION SHEET)
                    Attorney: SELLS, Mr DEREK S (420398)
                    TERRI D. WRIGHT (Plaintiff);


18         07/23/20 Complaint for Breach of Contract Filed             120.00
                     Receipt: 458388 Date: 07/24/2020                                                 0.00




                              Totals By:     Cost
                                                                      120.00                          0.00
                                             Information
                                                                        0.00                          0.00
                              *** End of Report ***
                                                                                                Digitally signed by Tanesha A. Anderson

                                                                          Tanesha A. Anderson   DN: cn=Tanesha A. Anderson, o=Civil Division, ou=Civil Actions Branch,
                                                                                                email=tanesha.anderson@dcsc.gov, c=US
                                                                                                Date: 2021.01.04 21:58:55 -05'00'
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Case 1:20-cv-02471-FYP Document 10 Filed 05/11/21 Page 7 of 62
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            THE SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                              Civil Division
                                    500 Indiana Avenue NW
                                    Washington, D.C. 20001

                                       December 11, 2020



CASE NAME: TERRI D. WRIGHT Vs. EUGENE & AGNES E. MEYER FOUNDATION et
al

CASE NUMBER: 2020 CA 003266 B


                               NOTICE OF REMOVAL

This case has been removed to the U.S. District Court for the District of Columbia. Any
unresolved motion filed in this case prior to its removal is moot as of the date of this notice.
Should the U.S. District Court remand the case back to this Court, moving party may request
reinstatement of a motion filed prior to removal of the case by filing a praecipe requesting that
the named motion(s) be reinstated. A Certificate of Service to all parties must accompany the
praecipe.

NO FURTHER PLEADINGS WILL BE ACCEPTED FOR FILING IN THE SUPERIOR
COURT AT THIS TIME.




                      D. C. Superior Court                                  First Class Mail
                      500 Indiana Avenue NW                                  U. S. Postage
                      Room JM-170                                                 Paid
                      Washington D.C. 20001                                 Washington, D.C.
                                                                            Permit No. 1726



                                      Mr DEREK S SELLS
                                      COCHRAN FIRM
                                      233 BROADWAY
                                      New York, NY 10279
2020 CA 003266 B


                                                                                   CANOR
      Case 1:20-cv-02471-FYP Document 10 Filed 05/11/21 Page 12 of 62

            THE SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                              Civil Division
                                    500 Indiana Avenue NW
                                    Washington, D.C. 20001

                                       December 11, 2020



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                      Room JM-170                                                 Paid
                      Washington D.C. 20001                                 Washington, D.C.
                                                                            Permit No. 1726



                                      TERRI D. WRIGHT
                                      204 BEACON PLACE NE
                                      WASHINGTON, DC 20011
2020 CA 003266 B



                                                                                   CANOR
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                                    500 Indiana Avenue NW
                                    Washington, D.C. 20001

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                      Room JM-170                                                 Paid
                      Washington D.C. 20001                                 Washington, D.C.
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                                      EUGENE & AGNES E. MEYER FOUNDATION
                                      1250 CONNECTICUT AVENUE NW
                                      SUITE 800
                                      WASHINGTON, DC 20036
2020 CA 003266 B


                                                                                   CANOR
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            THE SUPERIOR COURT OF THE DISTRICT OF COLUMBIA
                              Civil Division
                                    500 Indiana Avenue NW
                                    Washington, D.C. 20001

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                      500 Indiana Avenue NW                                  U. S. Postage
                      Room JM-170                                                 Paid
                      Washington D.C. 20001                                 Washington, D.C.
                                                                            Permit No. 1726



                                      NICOLA O. GOREN
                                      4228 Alton PL NW
                                      WASHINGTON DC, DC 20016
2020 CA 003266 B



                                                                                   CANOR
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